Case 3:24-cv-01098-ZNQ-TJB Document 149 Filed 03/17/24 Page 1 of 5 PageID: 2613




                                          State of New Jersey
                                    OFFICE OF THE ATTORNEY GENERAL
                                 DEPARTMENT OF LAW AND PUBLIC SAFETY
                                               PO BOX 080
                                         TRENTON, NJ 08625-0080

                                                                                      March 17, 2024

 VIA ECF

 Honorable Zahid N. Quraishi, U.S.D.J.
 United States District Court
 Clarkson S. Fisher Building
 402 East State Street
 Trenton, New Jersey 08608

         Re:     Kim et al. v. Hanlon et al., No. 24-cv-1098 (ZNQ)(TJB)

 Judge Quraishi:
         Federal Rule of Civil Procedure 5.1(c) expressly provides the Attorney General 60 days to
 decide whether to intervene in a federal action challenging the constitutionality of a state statute.
 The Attorney General writes to inform this Court of his decision not to intervene in this matter—
 and to confirm he is waiving the remainder of that 60-day period—and to provide the reasons for
 that decision. In light of the evidentiary record, the Attorney General has concluded that the
 challenged statutes are unconstitutional and therefore will not be defending them.
                                                            I
         New Jersey’s system of ballot design for primary elections is unique across the Nation. The
 system, referred to as the “county line,” is the result of intersecting statutes, judicial decisions, and
 discretionary practices that have developed over time.
         Three statutes lay out the basic parameters for primary ballot design in New Jersey. First,
 N.J. Stat. Ann. § 19:49-2 provides both for the use of a grid ballot for primary election ballots
 voted via voting machine and establishes that candidates may bracket together on a single line.
 Second, N.J. Stat. Ann. § 19:23-26.1 provides special rules for primary ballot positions of United
 States Senate and Governor candidates. Finally, N.J. Stat. Ann. § 19:23-24 sets the general rules
 for random ballot draws to determine the ballot positions of primary candidates.
        Conditions have subsequently altered the real-world impact of those statutes. For most of
 the twentieth century, including when the bracketing law was first enacted, L. 1941, ch.163, § 1,
 New Jersey prohibited political parties from endorsing primary candidates. See L. 1930, c. 187, at




                         HUGHES JUSTICE COMPLEX · TELEPHONE: (609)292-4925 FAX: (609)292-3508
                           New Jersey is an Equal Opportunity Employer Â Printed on Recycled Paper and Recyclable
Case 3:24-cv-01098-ZNQ-TJB Document 149 Filed 03/17/24 Page 2 of 5 PageID: 2614

                                                                                                                Page 2


 905, codified as N.J. Stat. Ann. § 19:34-52 (“It shall be unlawful for any State, county or municipal
 committee of any political party prior to any primary election to endorse the candidacy of any
 candidate for a party nomination or position.”). But in 1989, the Supreme Court held such primary
 endorsement bans unconstitutional, see Eu v. S.F. Cnty. Democratic Cent. Comm., 489 U.S. 214,
 224 (1989), paving the way for official party endorsements to appear and for the party’s desired
 candidates to be bracketed as the “county line” on New Jersey’s primary ballots. See Batko v.
 Sayreville Democratic Org., 860 A.2d 967, 972 (N.J. App. Div. 2004).
        Nor was that the only intervening development: statewide candidates for U.S. Senate and
 Governor were at one time excluded from bracketing, see N.J. Stat. Ann. § 19:23-26.1, but later
 became a core part of the county line system. Indeed, while the Legislature had prohibited
 Senatorial and Gubernatorial candidates from bracketing with other candidates, New Jersey state
 courts subsequently invalidated that provision—thus allowing Senatorial and Gubernatorial
 candidates to be bracketed with down-ballot candidates, including on any endorsed “county line.”
 Schundler v. Donovan, 872 A.2d 1092, 1099 (N.J. App. Div.), aff’d, 874 A.2d 506 (N.J. 2005).
         Further, because these state statutes afford wide discretion in designing the grid ballot, real-
 world practices illustrate the impact of the “county line.” State statutes afford significant discretion
 over how to lay out the ballot in the face of physical limitations inherent in a grid format and
 significant discretion over the sequence of offices selected for a ballot draw—known as the pivot
 position. As a result, it is often impossible for unbracketed, non-pivot office candidates to secure
 an earlier position on the ballot compared to their bracketed competitors.1 These features of grid
 balloting and bracketing also have allowed unbracketed candidates to be placed at the end of a
 ballot with multiple blank spaces separating them from their competitors, which creates the
 phenomenon known as “ballot Siberia.” And these features have allowed for candidates who have
 not bracketed together—or are running against each other—to be grouped on the same line.2
                                                           II
         Although 28 U.S.C. § 2403(b) and Fed R. Civ. P. 5.1(c) afford the Attorney General the
 unqualified opportunity to defend these statutes, the Attorney General has concluded based on
 review of this record that the evidence does not provide a basis for intervening to defend their
 constitutionality. That factual and expert record, which did not exist when the Attorney General’s
 Office filed briefs defending these statutes in Conforti v. Hanlon, No. 20-8267 (D.N.J.), and Mazo
 v. Durkin, No. 20-8336 (D.N.J.), lacks contrary evidence. Indeed, in the multiple years since these
 state statutes were challenged in this Court, the Attorney General has not identified reliable
 empirical evidence countering this record evidence, including after reviewing the filings of the
 other parties in this very case. As such, the Attorney General will not be intervening to defend
 these statutes.


 1
  See Dkt. 1-2, Pasek Rpt. 21-24 (collecting evidence that outcomes of these draws are inconsistent
 with random selection, and that the draws do not consistently use the same pivot office, leading to
 disparate practices).
 2
     See Pasek Rpt. 21-24, 70-71; Dkt. 1-3, Rubin Rpt. 27.




                         HUGHES JUSTICE COMPLEX · TELEPHONE: (609)292-4925 FAX: (609)292-3508
                           New Jersey is an Equal Opportunity Employer Â Printed on Recycled Paper and Recyclable
Case 3:24-cv-01098-ZNQ-TJB Document 149 Filed 03/17/24 Page 3 of 5 PageID: 2615

                                                                                                                Page 3


         As this Court has explained, these constitutional issues turn on the evidence regarding both
 the burdens imposed by this ballot layout and the government interests these state statutes do or
 do not advance. See Conforti, 2022 WL 1744774, at *17 (D.N.J. 2022) (emphasizing importance
 of evidence in evaluating ballot position effects); see also Democratic-Republican Org. of N.J. v.
 Guadagno, 900 F. Supp. 2d 447, 458 (D.N.J. 2012) (same). Under the Anderson-Burdick test, it is
 the obligation of “the reviewing court to (1) determine the ‘character and magnitude’ of the burden
 that the challenged law imposes on constitutional rights, and (2) apply the level of scrutiny
 corresponding to that burden.” Mazo v. N.J. Sec’y of State, 54 F.4th 124, 136 (3d Cir. 2022)
 (discussing Anderson v. Celebrezze, 460 U.S. 780 (1983), and Burdick v. Takushi, 504 U.S. 428
 (1992)). The Attorney General has carefully reviewed the available evidence regarding both the
 burdens and government interests, including the evidence in the record submitted in this case. That
 evidence dictates his decision on how to proceed.
          As to the character and magnitude of the burden on voters’ and candidates’ constitutional
 rights, the record in this case establishes an electoral advantage for candidates who bracket and a
 corresponding disadvantage for candidates who do not, imposing a burden on associational rights.
 That factual and expert record evidence includes historical data of primary results within the State;3
 an observational study that excludes confounding variables like endorsements;4 and a randomized
 experiment of New Jersey primary voters.5 These results are also consistent with the cognitive
 mechanisms experts have identified that would be expected to lead to these results.6 Furthermore,
 as explained above, the grid ballot combined with a bracketing system enables the phenomenon
 known as “ballot Siberia”—where unbracketed candidates are placed at the end of a ballot, far
 from their competitors.
         On the other side of the ledger, the record lacks evidence showing that these laws advance
 the relevant government interests; instead, the record confirms that they do not. Both observational
 and randomized experimental evidence alike show that voters are more likely to make errors when
 encountering grid ballots with bracketing than standard office-block ballots.7 And the empirical
 and expert record calls into doubt that bracketing advances candidates’ associational interests or
 voters’ interests in identifying those associations. Because candidates are incentivized to bracket
 with candidates endorsed by the relevant county political party—given the structural advantages
 conferred by the county line—voters cannot be certain that the bracketing decisions reflect the true
 associational preferences of candidates. Moreover, the record evidence reflects multiple instances
 in which candidates who did not choose to associate together have been placed on the same line—



 3
     See Rubin Rpt. 3-4, 11-12, 15-18; Dkt. 1-4, Wang Rpt. 2, 9-11.
 4
     See Rubin Rpt. at 19-22; Wang Rpt. 12-13.
 5
     See Pasek Rpt. 41-52.
 6
     See Pasek Rpt. 28-37; Wang Rpt. 5-8, 14-15.
 7
     See Pasek Rpt. 34-38, 71-72.




                         HUGHES JUSTICE COMPLEX · TELEPHONE: (609)292-4925 FAX: (609)292-3508
                           New Jersey is an Equal Opportunity Employer Â Printed on Recycled Paper and Recyclable
Case 3:24-cv-01098-ZNQ-TJB Document 149 Filed 03/17/24 Page 4 of 5 PageID: 2616

                                                                                                               Page 4


 a phenomenon that can communicate inaccurate associations to voters, and is made possible only
 by use of a grid ballot that authorizes the bracketing of candidates.8
         The widely-used office-block ballot, by contrast, avoids these concerns for candidates and
 voters alike, while still communicating candidates’ legitimate associational interests. Office-block
 ballots permit candidates and factions to associate and to communicate those associations to voters
 via shared slogans, which may be printed on the ballot alongside candidate names. See Mazo v.
 N.J. Sec’y of State, 54 F.4th at 131-32 (upholding state statutes relating to slogans).9 But whether
 or not candidates choose to associate with other candidates will have no bearing on their placement
 on the office-block ballot. Indeed, such ballots are uniformly used outside New Jersey; that New
 Jersey is the only State to use a grid ballot with a bracketing system for primary elections
 undermines the view that such a system “is necessary” to advance government interests. Eu, 489
 U.S. at 226; cf. Holt v. Hobbs, 574 U.S. 352, 368-69 (2015). Moreover, that multiple New Jersey
 counties have declined to use a grid ballot with bracketing for machine voting or have used other
 kinds of ballots for other forms of voting likewise supports that the governmental interests can still
 be accomplished without the challenged statutes.10
                                                         III.
         Although the Attorney General traditionally defends all state statutes from constitutional
 challenge in any case in which there is any plausible basis to defend the law, see N.J. Stat. Ann. §
 52:17A-4(g) (empowering Attorney General to “attend generally to all legal matters in which the
 State[’s] rights or interests are involved”), nothing in New Jersey law prevents the Attorney
 General from “interpret[ing] a statute as unconstitutional” in exceptional cases. Mech. Contractors
 Ass’n of N.J., Inc. v. State, 605 A.2d 743, 749 (N.J. App. Div. 1992); see also, e.g., N.J. Highway
 Auth. v. Sills, 263 A.2d 498, 501 (N.J. Ch. Div. 1970) (“That [the Attorney General] takes the
 position the statutes in question are unconstitutional is also within the scope of his powers and
 duties.”). To take one example, the Attorney General will not defend a law—even if a plausible
 defense exists—if it infringes the executive branch’s authority in violation of state separation of
 powers. See Gen. Assembly of State of N.J. v. Byrne, 448 A.2d 438, 440 (N.J. 1982).
         This is an exceptional case, justifying the Attorney General’s exceptionally rare decision
 not to defend the constitutionality of the challenged statutes. First, a central reason for the Attorney
 General’s defense of state statutes is to implement the will of the democratic process that enacted
 them, but as explained above, subsequent court decisions and practices on the ground have

 8
   E.g., Rubin Rpt. 24-26, 29 (examples of primary ballots listing candidates on same line even
 though they did not bracket together or share a slogan).
 9
   New Jersey’s slogan statutes are fully compatible with an office-block ballot. N.J. Stat. Ann.
 §§ 19:23-17; 19:23-25.1. Indeed, the original slogan statute was enacted a decade before the
 original bracketing statute. See L. 1930 c. 187 at 798.
 10
   See Rubin Rpt. 21-22 (machine voting); Dkt. 45, Melfi Cert. Ex. B (provisional ballots); Dkt.
 95-1, Exs. A-H (office-block ballots for nonpartisan municipal elections).




                        HUGHES JUSTICE COMPLEX · TELEPHONE: (609)292-4925 FAX: (609)292-3508
                          New Jersey is an Equal Opportunity Employer Â Printed on Recycled Paper and Recyclable
Case 3:24-cv-01098-ZNQ-TJB Document 149 Filed 03/17/24 Page 5 of 5 PageID: 2617

                                                                                                               Page 5


 overtaken the Legislature’s original intent in enacting the challenged state statutes. Second, the
 traditional need for the Attorney General to defend the results of the democratic process does not
 apply neatly to a case where the plaintiffs produced substantial record evidence to challenge the
 statutes as undermining the democratic process. Third, New Jersey stands alone across the Nation
 in the use of bracketing for primary-election machine ballots, which further undermines the claim
 that these laws are necessary to advance the government interests on which the Attorney General
 would have relied. Fourth, no official that the Attorney General represents in court implements
 these laws, so there is no risk that any state agencies would simultaneously be enforcing but
 declining to defend a particular statute.11 Finally, this Court has made clear in its prior decisions
 that the constitutional question at issue turns on the evidence. The Attorney General has concluded
 that the evidence presented does not support a defense of the constitutionality of these statutes.
         For these reasons, the Attorney General declines to intervene to defend the statutes at issue
 in this case.12 Consistent with that decision, the Attorney General will be moving to withdraw as
 intervenor in Conforti v. Hanlon, No. 20-8267 (D.N.J.). In Mazo v. Durkin, No. 20-8336 (D.N.J.),
 where the Secretary of State was improperly named as a defendant, the Attorney General will be
 seeking her dismissal from the case, because the discovery exchanged to date confirms that she
 does not administer or enforce any of the statutes at issue. See, e.g., Ex parte Young, 209 U.S. 123,
 157 (1908) (holding named “officer must have some connection with the enforcement of the act,
 or else it is merely making him a party as a representative of the state, and thereby attempting to
 make the state a party”). But the Attorney General will not otherwise provide a defense of the
 challenged statutes on the merits in that case.
                                                      Respectfully submitted,

                                                      MATTHEW J. PLATKIN
                                                      ATTORNEY GENERAL OF NEW JERSEY

                                                      /s/ Jeremy M. Feigenbaum
                                                      Jeremy M. Feigenbaum, Solicitor General
                                                      Angela Cai, Deputy Solicitor General


 Cc: All counsel via ECF



 11
   An executive official’s duty to enforce, see N.J. Stat. Ann. § 52:17A-4(h), is distinct from its
 duty to defend. See Kate Shaw, Constitutional Nondefense In The States, 114 Colum. L. Rev. 213,
 218 (2014). The Secretary of State does not enforce any of the statutes at issue here.
 12
   Because the Attorney General will not be participating as a party, and because it does not bear
 on the intervention decision under 28 U.S.C. § 2403(b) and Fed R. Civ. P. 5.1(c), the Attorney
 General does not address Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam), or any of the
 equitable factors that courts consider as part of a preliminary injunction application.




                        HUGHES JUSTICE COMPLEX · TELEPHONE: (609)292-4925 FAX: (609)292-3508
                          New Jersey is an Equal Opportunity Employer Â Printed on Recycled Paper and Recyclable
